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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,                No. 1:20-cr-183

             vs.                             Hon. Robert J. Jonker
                                             Chief United States District Judge

ADAM DEAN FOX and
BARRY GORDON CROFT JR.,

                  Defendants.
_______________________________/

              GOVERNMENT’S RESPONSE TO DEFENDANTS’
                     MOTIONS FOR ACQUITTAL

      The evidence adduced at trial was sufficient to support the defendants’

convictions as to all the charged offenses. That evidence included (among other

things) the defendants’ own recorded statements that they planned to kidnap

Governor Whitmer. It was corroborated by accomplice testimony and video evidence

that they cased her home twice in preparation for the abduction, agreed to use

explosives and bombs in furtherance of the abduction, and that Croft unlawfully

made, possessed, and detonated an improvised explosive device.

                                      FACTS

      1. Procedural History

      In October 2020, defendants Adam Dean Fox (“Fox”), Barry Gordon Croft, Jr.

(“Croft”), Ty Gerard Garbin (“Garbin”), Daniel Joseph Harris (“Harris”), Kaleb

James Franks (“Franks”) and Brandon Michael-Ray Caserta (“Caserta”) were
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charged by complaint with conspiring to kidnap the Governor of Michigan. (R. 1:

Criminal Complaint, PageID.1.) A grand jury in this district returned an indictment

charging them with the same offense in December 2020. (R. 86: Indictment,

PageID.573.) In January 2021, Garbin pled guilty and admitted he had conspired

with the other defendants to kidnap Governor Whitmer. (R. 143: Minutes of Change

of Plea, PageID.759.)

      In April 2021, the grand jury returned a superseding indictment adding

additional charges. (R. 172: Superseding Indictment, PageID.961.) Count 1 charged

Fox, Croft, Harris, Franks, and Caserta with conspiracy to kidnap, in violation of 18

U.S.C. § 1201(c). Count 2 charged Fox, Croft, and Harris with conspiracy to use a

weapon of mass destruction, in violation of 18 U.S.C. § 2332a(a)(2). Count 3 charged

Croft and Harris with possession of an unregistered destructive device, in violation

of 26 U.S.C. § 5861(d). Count 4 charged Harris with possession of an unregistered

short-barreled rifle; also in violation of 18 U.S.C. § 5861(d). (Id.) In February 2022,

Franks pled guilty to Count 1 and admitted that he conspired with the other

defendants to kidnap Governor Whitmer. (R. 447: Minutes of Change of Plea,

PageID.3135.)

      Between March 8 and April 8, 2022, this Court presided over a 20-day jury

trial. At the conclusion of the government’s case-in-chief, the defendants moved for

a directed verdict of acquittal under Fed. R. Crim. P. 29. (R. 609: Minutes of Jury

Trial, March 30, 2022, PageID.5866.) The Court denied the motion. (Id.) The

defendants unsuccessfully renewed the motion at the conclusion of their proofs. (R.



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606: Minutes of Jury Trial, March 31, 2022, PageID.5863.) After a week of

deliberation, the jury acquitted Harris and Caserta, and deadlocked on the charges

against Fox and Croft. (R. 612, 613: Judgments of Acquittal, PageID.5870-71; R.

622: Declaration of Mistrial, PageID.6029.)

      At trial, the Court admitted approximately 382 government exhibits,

including social media posts, encrypted chat messages, photographs, and audio and

video recordings. The exhibits also included physical objects such as zip ties, a

taser, semiautomatic rifles, pistols, ammunition, and body armor. (Gov’t Exhibits 1-

478.) The government presented the live testimony of dozens of witnesses, including

federal agents, a confidential human source, and co-defendants Garbin and Franks.

(See R. 591, 592, 593: Testimony of Dan Chappel; R. 594: Testimony of Ty Garbin;

R. 595: Testimony of Kaleb Franks.) For the purposes of this response, only a

limited selection of the admitted evidence and testimony will be discussed.

      2. Government evidence produced at trial

             a. Predisposition

      The superseding indictment charged Fox and Croft with conspiring as early

as June 6, 2020, when they met in Dublin, Ohio to discuss anti-government actions,

including the kidnapping of state governors, and recruiting like-minded individuals

to their cause. (R. 172: Superseding Indictment, PageID.963.) Both defendants

eventually argued they had been entrapped by the FBI, but evidence established

they were predisposed to commit such acts long before that meeting:




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       In January 2019, Croft posted a photograph on Facebook of himself wearing a

tricorn hat, displaying a tattoo on his forearm reading, “EXPECT US … 2nd Cont.

Del. Reg.” (Gov’t Ex. 48). His girlfriend Chasity Knight testified at trial that Croft

got the “Second Continental Delaware Regiment” tattoo—and the logo of the anti-

government extremist III% militia on his other hand—no later than 2017.

       In April 2020, Croft posted, “I believe all it’s going to take is 1 state, to burn

out and hang a Govenor (sic), and those dominoes will start falling!!!%” (Gov’t Ex.

4). In early May 2020, Croft asked an uncharged associate, “The lock up your

Governor challenge. Which of the beautiful colonies is going to be the first to snatch

a criminal bastard?!?!” (Gov’t Ex. 11.) He added, “In Michigan, police stood in front

of the People. These Governors need arrested, I’ll go send me.” (Id.) He told another

associate, “I’ll be in Columbia, SC on Friday. They say they want their Governor in

custody … I want to grab them all, and hold trial.” (Gov’t Ex. 12.) In another audio

message posted May 7, 2020, he said, “One criminal governor in our possession,

we’ve captured the flag in that state.” (Gov’t Ex. 14.)

       Fox also posted anti-government material on Facebook months before

meeting Croft or any government informants. In a December 2019 video, he stated,

“It’s boogaloo time in 2020.” (Gov’t Ex. 435.) He counseled, “Let’s go man, what are

we waiting on? This [brandishing AR-15] is the only way that we take back our

country is right here, by brute fucking force, physical violence.” He added, “Who’s

going to fire the first shot? Y’all ready? I am.” (Id.)




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      In January 2020, Fox posted a photograph of flex cuffs, similar to the ones he

later said could be used on Governor Whitmer. (Gov’t Exs. 2, 380.) In March 2020,

he posted a video of himself stating, “We have the numbers, we have the arms, we

have the ammunition, we have all the fucking tools and strategy that we need to

just go take our country back from 435 members of Congress that don’t give a fuck

about us.” (Gov’t Ex. 3.)

      By May 2020, Fox and Croft were discussing anti-government action directly

with each other. On May 30, Croft left a Facebook voice message for Fox stating,

“We’re getting ready to go the fuck to war.” (Gov’t Ex. 23.) He followed up the same

day about obtaining weapons and concealing their activities from law enforcement:

“We’re going to use this mayhem to spread their logistics. … We need this shit to

topple these tyrants. I need to get these faggots in custody, and I will not be able to

do it with the full weight of the FBI and all these other motherfuckers on us. We

need this shit.” (Gov’t Ex. 24.)

             b. Fox and Croft meet and plan

      On June 5, 2020—the day before they met each other in person in Dublin,

Ohio—Fox posted a recruiting notice on Facebook stating, “2nd Continental

Michigan Regiment, weak ones need not apply.” (Gov’t Ex. 32.) Croft tagged the

page “Last Croft is with Adam Dean Fox,” and encouraged readers, “Hit my bro up,

Constitution or bleed out!!!%.” (Id.)

      On June 6, 2020, Croft and Fox met with extremists from several states at a

hotel in Dublin, Ohio, where they discussed launching coordinated attacks and



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recruiting like-minded individuals in their home states. (Gov’t Exs. 34-40.) Croft

claimed divine sanction for terrorism and murder: “Because one of the

commandments I was commanded, and I have to break that. Father knows why.

I’ve already asked permission, and it’s been granted. I’m not worried about it

anymore. I’m not even going to give it a second thought. If I have to fly through a

motherfucker, burn his whole motherfucking family to the ground knowing that I

have one myself, I’m sorry. I’m going to do it.” (Gov’t Ex. 34.) Croft said, “You grab,

you grab the Capitol with the governor, they’re going to love you.” (Gov’t Ex. 39.)

              c. Fox and Croft recruit accomplices

       On June 8, 2020, Croft assisted Fox with his home-state recruiting by

introducing him to Joe Morrison, leader of the Michigan-based “Wolverine

Watchmen” militia. Croft told Morrison on Facebook Messenger, “Call me … [G]et

with Adam Dean Fox. We are going to as we had historically. 2nd Continental

Michigan regiment is forming as a Constitutional defense apparatus.” (Gov’t Ex.

43.) Morrison responded, “I’ll reach out.” (Id.)

       The next day, Croft let Fox know he was sending potential recruits his way:

“[Y]ou are also going to have people from Michigan tell you, ‘Yo, Croft sent me to

you.’ You know what I mean? So, you know, I’m, I’m putting, I’m putting them cats

on ya, brother. It’s going to be that. And they gonna form up on us, and we’re going

to do our thing, man. It’s, motherfuckers don’t even know, man, we’re just at the

beginning stages and shit, you know what I mean? Like we haven’t even, we just got

in the fight.” (Gov’t Ex. 52.)



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      On June 20, 2020, Fox met several potential recruits (including confidential

human source “CHS” Dan) in the basement of the Vac Shack, his home and place of

employment in Grand Rapids. Both CHS Dan and cooperating defendant Ty Garbin

testified that they attended the meeting as representatives of the Wolverine

Watchmen, and that Fox made them leave their phones upstairs for operational

security. (R. 591: Chappel Tr., PageID.4659-63; R. 594: Garbin Tr., PageID.5247-

49.) Fox discussed plans to assault the Capitol in Lansing, and said, “I don’t feel like

we should be waiting until November. I feel like we should be actively staging and

planning … if the opportunity presents itself.” (Gov’t Ex. 64.)

      The next day, Fox reported back to Croft that he would be bringing new

Michigan recruits to a field training exercise (“FTX”) in Cambria, Wisconsin: “Yeah

I’m fully intending on bringing a ton of people with me too. I’m getting a lot of these

Michigan, or excuse me Wolverine Watchmen to come with, and then, might get

some from Michigan Home Guard, might have a couple from Michigan Liberty

Militia, might be a couple of stragglers from other militias, but yeah, were going to

bring as many people out to Steve’s for that weekend as we can, and were definitely

going to be there.” (Gov’t Ex. 68.)

             d. The defendants lay out their plans and begin training

      A few days later (June 29, 2020) Croft told an uncharged associate on

Facebook Messenger, “Michigan’s government is a target of opportunity, if

opportunity presents, will engage … God knows the Gov. needs hung.” (Gov’t Ex.

71.) Fox related their plan to an undercover agent (UC “Mark”) in the Vac Shack



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basement on July 3, 2020: “The reason we talk here is because every fucking

electronic device is compromised. Okay? … If I say I want to kill the fucking

Governor, and they heard that, they could come and get me.” (Gov’t Ex. 74.)

      Fox told UC Mark, “[W]e’re not just taking fucking the building; we’re taking

fucking politicians and we need a list. We’re going in there with specific agenda to

take these motherfuckers hostage. Because at the end of the day that building is

brick and mortar. That’s fucking, that’s not valuable, that’s not worth anything. It’s

totally replaceable. … You take the motherfucking politicians, now you got human

life. That’s the most valuable thing you got. Then you got something to negotiate

with. … Then maybe we use them motherfuckers as a bargaining tool for the

fucking head of the State. Cause at this point, that’s what we want. We want her

held accountable for her crimes.” (Gov’t Ex. 76.) Fox continued, “And then we have

got a tool to negotiate with. Like, bring us the Governor. You can have them all. …

We just want the bitch. We want the tyrant bitch. We want her flex-cuffed, on a

table, while we all pose and get our pictures taken like we just made the biggest

drug bust of the fucking history. That’s what we want.” (Gov’t Ex. 77.)

      On July 10, 2020, Croft told another source (CHS Steve) that he needed

explosives but didn’t want to be caught with them: “We need them. I need them all.

I need to get these guys demolition trained, bro. That’s the element that the

militia’s missing.” (Gov’t Ex. 85.) “If the feds ping my phone and roll me, you know

what I mean, I don’t want to be with the explosive device.” (Gov’t Ex. 86.)




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        Over the weekend of July 11-12, 2020, Fox and Croft attended the FTX in

Cambria, Wisconsin. Garbin and Franks testified that they constructed a plywood

“kill house” to practice breaching a building (Gov’t Ex. 103), and that by that time

Croft, Fox, and the other defendants had all agreed to kidnap and/or kill Governor

Whitmer. (R. 594: Garbin Tr., PageID.5263-65, 5273; R. 595: Franks Tr.,

PageID.5446-48.) Croft confirmed this on July 12, when he told CHS Steve, “A

quick, precise grab on that fucking governor. And all you’re going to fucking end up

having to possibly take out is her armed guard. Whitmer. Whitmer. Michigan.

Whitmer. Her armed guard. All I’m going to have to possibly neutralize.” (Gov’t Ex.

108.)

        Six days later Fox confirmed their intentions as well, telling CHS Dan, “She

doesn’t have an office in the Capitol. She has her own fucking building with her own

office.” (Gov’t Ex. 113.) He stated, “We can do recon for two weeks. Planning for one

week. And one night execution in the middle of the fucking night. Remote

detonation. Send a fucking message.” (Id.) Steve asked, “And who is this bitch?”

Fox’s girlfriend responded, “Gretchen,” and Fox added, “Who the fuck you think,

man?” (Id.)

        On July 27, 2020, Fox told CHS Dan his preference for kidnapping: “But, I

really feel like snatch and grab is the way to go, bro, I mean … Yeah, I mean, it’s,

it’s the, it’s the most peaceful route we can go, in a way.” When Dan asked, “But is it

going to be catch and release?” Fox replied, “Fuck no, bitch! Once we got her she’s

ours, man. She getting charged, man. Fuck that. Either she’s going to prison or



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she’s getting hung. She’s suffering her fucking fate, dude. … And then after that

we’re going after the others. This is the example, bitch. The head’s cut off. We’re

coming to burn the rest of the body now.” (Gov’t Ex. 127) He added, “Cause I think

at that point, snatch and grab, man. Just grab the fucking governor, dude. Fucking

just grab the bitch. Because at that point, if we do that, dude, it’s over.” (Gov’t Ex.

128.)

              e. The defendants case the Governor’s home and agree to use
                 explosives

        On August 29, 2020, Fox, Eric Molitor, and CHS Dan conducted a daytime

reconnaissance of the Governor’s vacation home. As the jury heard in recorded

audio from the trip, Fox directed Molitor to take photographs and slow-motion

videos of the home, which he later posted to the conspirators’ encrypted message

group. (Gov’t Exs. 173-75, 178, 181.) After the reconnaissance, Fox drew a map of

the home and its vicinity, including the distance and response times from the local

police department and nearest State Police post. (Gov’t Exs. 187-88.)

        A week later (September 7, 2020), Fox told Dan, “My main concern now is,

man, we make the fucking plan, we get it all fucking foolproof, and before we can

even go out fucking execute it, we’re getting fucking stormed individually by the

goddamn feds because they know every goddamn thing we’ve been doing because we

have been compromised since fucking Ohio.” (Gov’t Ex. 215.) “I’m not going to let us

go down like that, dude. I’m sorry, I’m not. I mean, we’re patriots. We’re, our goal is

to restore the constitutional republic. You know? Granted, some things that we’re

going to have to do to do that might get us labeled as domestic terrorists by this

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media and stuff, but in our hearts and minds we got to know we are not domestic

terrorists. You know what I mean?” (Id.)

      In mid-September 2020, Croft drove 12 hours from Delaware to Ty Garbin’s

property in Luther, Michigan for the FTX with Fox, Garbin, Harris, Franks and

Caserta. Croft constructed an improvised explosive device (“IED”) by taping pennies

to the outside of a commercial mortar shell, and told CHS Steve the shrapnel would

be thrown “Probably a good twenty five feet in circumference. Three hundred and

sixty degrees. Um, and those, those pennies, because that propulsion isn’t being

dulled, they’re going to be very hot when they go out. Um, getting hit in any place

with any one of ‘ems not going to be a good thing. They’ll go right through your

skin.” (Gov’t Ex. 219.)

      Croft told Garbin and Caserta, “If we’re going to attack them, we have to

start to attack them. … I want, I want you guys to understand we are seeing things

we’ve never seen before. The reason for that is the same reason you’re seeing the

shit out of the public that you’re seeing. Fear. If they’re afraid and they bleed we

can fucking kill them. So for the first time in life we’re seeing fucking fear out of

them and we’re doing something right. Look at how small this group is. When we

show them out there you can win, get out of the way.” (Gov’t Ex. 220.)

      Fox invited Caserta and an undercover agent (UC “Red”) to accompany him

for a nighttime surveillance of the Governor’s home: “We already put fucking eyes

on her cottage up there. … And were going to take another look tonight. Get eyes on

it at nighttime. We’re going to do two vehicles if you guys are down, you want to



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roll?” (Gov’t Ex. 223.) Fox told Caserta the Governor’s home was a good target: “It’s

fucking perfect, dude. There’s a goddamned public boat launch on the other side of

the lake from her, and its literally concealed by fucking trees, and then it’s like, it’s

just it’s too fucking perfect man it really is. [UI] take her on Birch Lake. … Fucking

shoot it out, there is one bridge going out of the fucking city. … Blow that fucking

bridge, that little PD can’t get there, the closest police station is like 20 miles away

on all fucking sides. That gives a 20-minute fucking timeframe. … Take her ass out

to fucking Lake Michigan. Drop her fucking motor and leave the bitch stranded.

Send the fucking message. … The whole point of this is to send a message, because

it doesn’t matter. If we, if we cut her out that don’t matter. There’s still the puppet-

masters above. The whole point is this, we’re, we’re sending the fucking message to

them, ‘Hey. If we can get her, we can get you.’” (Id.)

      Fox then told Caserta and Mark, “Let’s go watch this menu video, yeah? Let’s

watch some shit blow up. Let’s go.” (Id.) UC Red testified that he was introduced to

the defendants as a bomb supplier, because the defendants were trying to obtain

explosives from other uncontrolled sources. Fox gathered the other conspirators to

introduce Red, and to watch a video demonstrating the kinds of explosives they

could acquire. Fox told the other defendants, “We have a menu of sorts to watch real

quick. If you’re down with the cause, this is something that we are going to be

collectively raising money to go live, so. We’re going to need some boom-boom. So,

the [UI] guy is a baker. He didn’t bring anything because its deer season and shit,

[UI] couldn’t come through with all the shit. He brought a video and shit. Big dump,



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so. Basically, a video of a bunch of shit being blown up, and it’s basically a menu of

what we can buy.” (Id.) After watching the video, Fox stated, “I got to see that

again.” (Gov’t Ex. 226.) He asked, “What kind of a price tag we looking at?” and

said, “Say we pull together like five G’s, what would that get us?” (Id.)

      On the night of September 12, 2020, Fox, Croft, Garbin, Franks and several

others conducted a nighttime surveillance of the area around the Governor’s home.

Croft later suggested that he had been bundled into the car by government agents,

without knowing where they were headed or why. But Franks testified that before

the group departed for the reconnaissance, Croft said he was “going to get eyes on

the bridge.” (R. 595: Franks Tr., PageID.5643.)

      During the drive, Fox discussed his plan to kill the Governor’s security team

and abduct her: “So, that’s a pretty light detail, right? … We could be sitting on a

fucking boat with silencers. Ping! Ping! Ping! Ping! Ping! Her detail is gone before

we even reach the shore. Maybe she’s got one or two inside. Okay, well, then we

deal with those. But we could even two, if we’re running an eight-man, ten-man

team. We could flank, if you want to. We have another fucking team come from

fucking foot, don’t leave no, no uh, forensic trail. Come by foot. Flank this side as

we’re approaching from water side. Then, collapse. Hit the target. Extract the target

to the water. Book it across the fucking lake.” (Gov’t Ex. 229.)

      On the way to the house, Fox stopped at the bridge Croft mentioned to

Franks, and took pictures underneath of places to seat an explosive device. (Gov’t

Ex. 223.) When Croft arrived at the boat launch across Birch Lake from the



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Governor’s house, he told UC Red, “[B]ased on what the map looks like, she should

be right at about around those three lights dead ahead, based on what the map

looks like. … Yeah, it, it, it actually ends over here. But her house by the, by the,

you know, the address, should be either in between those three dots, or that orange

light to your left. (Gov’t Ex. 248.)

       When the defendants returned to Garbin’s camp near Luther, they discussed

how to deal with the Governor’s security detail. Croft stated, “We can hit them with

quantity but we definitely have to pick up our quality as well. That’s why

incendiaries are absolutely necessary. If you have something shoulder-fired you can

go on a lead vehicle. … That’s, that’s why I wanted it [his 37 mm projectile

launcher] played with, man.” (Gov’t Ex. 249.) Croft added, “We need the target’s

habits” (Gov’t Ex. 250) and shared his observations of government protective

convoys: “Listen. I run out of Delaware, and go to North Carolina, about twice a

week. I’ve been seeing the way that they move, with their SUVs. They come up with

their D.C. tags, there’s three of ‘em in tandem. … But you could tell, the way that

they roll, diplomatic, they’ve got at least six people in those vehicles. So you’re

looking at a, every car, with four to six people, have to guesstimate, on, on that

plane.” (Gov’t Ex. 254.) Harris told Croft, “If we’re to do anything that hinders their

movement, they’re going to stop and fight their way out. … They’re going to hit us

head on.” Croft replied, “Right.” (Gov’t Ex. 255.)

       When Franks asked him if they were going to be able to return to their

normal lives after the abduction, Croft replied, “That’s something you’re going to



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need to think about then. If we’re going to carry out an operation of this magnitude

you are going to have to walk away from life. You will be living as a self-proficient

unit [UI] foraging for everything you get. We will be fighting our way in and out of

every situation we encounter. That simple.” (Gov’t Ex. 257.)

      Fox asked UC Red if they could order the explosives on credit: “If we have to

have a little IOU for a month, you good with that?” Fox told the group, “Either way,

guys, we’re going to have this shit. And either way we need this shit. And also too,

we’re going to tack on another six hundred dollars on there because I’m, we’re going

to get like twenty fash, flash bangs.” (Gov’t Ex. 258.) Fox told CHS Dan, “Ok, so,

we’re obviously, we’re moving forward. So, from here on out, us in Michigan, we

need to start, trying to break out recon teams. This is something we’re going to have

to be all over, I mean, I think we should go look at it a couple of times. This has got

to be precision man. There’s no room for fucking mistakes man, at all. And shit’s

going to get hairy. Like, we’re going to have to steal some shit. Like, we’re not going

to be using any of our shit. We’re not going to leave a fucking trail back to us.”

(Gov’t Ex. 260.)

      The next morning (September 13, 2020) Fox told the other defendants, “So, a

lot of you went with us last night. You kind of know, what, like, you know, what our

intentions are. It comes with a price tag. Now there’s shit we got to do. To be able to

do to them, so, things to do, shit we want to do, we can do easily, for like four grand.

It’s our job now. We got to pool this money together, I want to try to raise it in the

next month, because it’s something we’ll be sitting on. You never know, if we want



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to do this, it’s going to be, being ready, but it’s going to be opportunistic. Like it’s

going to be, when the, the asset arises there, boom, we got to go. Like that’s another

key reason why we need fucking, like, local intel.” (Gov’t Ex. 264.)

              f. The defendants detonate a practice bomb and discuss acquiring
                 more explosives

       Before leaving Luther, Croft and Harris detonated the IED Croft had

constructed, surrounded by human silhouette targets. Multiple witnesses, including

Harris and Knight, testified that Harris and Croft set off the bomb together. The

jury heard the scene unfold in recorded audio, including the following exchange

from nearby attendees:

       Robeson:      Where’s Barry at?

       Knight:       Up there. They’re getting ready to detonate.

       Plunk:        They’re up there getting ready to go boom.

       Robeson:      Who, who’s with him?

       Plunk:        Dan Harris.

                     …

       Robeson:      You’ll see Barry run this time. He doesn’t usually run but when
                     he lights shit up he runs fast…

(Gov’t Ex. 222.)

       FBI bomb expert Kelly Van Arsdale testified that by affixing pennies as

shrapnel, Croft converted the firework into a bomb, which could maim or kill

bystanders. FBI bomb technician Kristopher Long testified that the components of

the device were similar to those used by the Tsarnaev brothers in the Boston



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Marathon bombing. ATF Special Agent Timothy Hunt testified that no one had

registered the destructive device in the National Firearms Registration and

Transfer Record, as required by law.

       On September 30, 2020, Fox told CHS Dan he was counting on the other co-

defendants to contribute to the explosives purchase as promised: “Dude, we

specifically fucking asked. I specifically asked everyone as a group, ‘Do we agree to

this? This is a group fucking bill.’ So everyone that stood there and said ‘yes’ better

have some fucking money in the pot, bro. They know that the fucking shit was going

to be about four G’s, so they better come appropriately. Like, I’m already putting in,

I’ll put in way more than my share, cause I don’t know who the fuck is going to be

there. But, I mean, I’ll try, I’ll try to put that four or five hundred in on the seventh,

and then I’ll try coming back another couple three hundred. … I mean, that’s like a

pretty good fucking portion from my end. Considering that I figured about four

hundred each person if there was ten of us.” (Gov’t Ex. 277.) CHS Dan asked

specifically whom he was counting on, and Fox replied, “So, Barry [Croft] … Steve

… Ty [Garbin] … Beaker [Harris] … Null brothers, they said ‘yes’ … and then who

else was standing right there? Fucking what’s-his-face should be on board, Brandon

[Caserta].” (Id.)

       On September 30, 2020, Fox told CHS Dan his ideas for additional training

and preparation: “I’ll get the basement [of the Vac Shack] all ready. … [W]e can go

pitch motherfucking black. … We can go, you know one room lit up, one room not.

Transition from night vision to off or whatever, you know. … Whatever, whatever



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we want to do we can run them all through the fucking scenarios. I got some regular

fucking handcuffs now so we don’t want to waste flex cuffs so we can practice

detaining somebody.” (Gov’t Ex. 278.) He added, “Maybe we should be acquiring

some other shit, like tasers, stun guns, something like that. … Maybe just like if we

could be real covert, and that way we could be less lethal. Like maybe we cuff asset

with, you know, we get the jump on a light, light, light security detail. … I mean, if

there is a six to eight fucking security detail, we’re just going to, to have to go out

and get bloody.” (Id.)

             g. The arrests and search warrants

      On October 7, 2020, Fox, Harris, Garbin, and Franks were arrested in

Ypsilanti, Michigan, where they planned to meet UC Red. Fox had $366 in cash on

his person. (Gov’t Ex. 403.) Garbin testified that after the arrest, Fox told him he

“brought a couple hundred cash with him as a good faith payment to Red, and that

he had another couple hundred dollars stashed away in a plastic gun

case in the basement in the Vac Shack [for a] good faith payment towards the

explosive device we needed.” (R. 594: Garbin Tr., PageID.5340.) FBI agents found

$600 there (Gov’t Ex. 375), along with a backpack containing a combat knife, zip tie

“flex cuffs,” rope and duct tape. (Gov’t Exs. 379, 380.)

      Croft was arrested in New Jersey on October 8, 2020. Agents searched his

home in Delaware and found a shotgun with spiked “breaching” barrel made to

forcibly enter closed doorways (Gov’t Ex. 344); the same commercial fireworks used

to construct the IED at Luther (Id.); a large jar of metal BBs, smokeless powder,



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and chemicals used to make “exploding targets.” (Gov’t Exs. 342, 345-48.) FBI bomb

expert Kelly Van Arsdale testified that those components could be combined to

make a bomb.

      The defendants attempted to establish they had been entrapped by the FBI,

but adduced scant evidence of inducement to commit a crime. They suggested

Special Agent Jayson Chambers had orchestrated a plot with CHS Dan to ensnare

them; but Croft asked Chambers only a cursory few questions on the stand, and Fox

asked him none. On the contrary, defendants Garbin and Franks both testified that

they had conspired with Fox and Croft of their own volition. (R. 594: Garbin Tr.,

PageID.5355-56; R. 595: Franks Tr., PageID.5669-70.) Both denied that they had

been coerced or offered any inducement to join the plot, or that they had seen or

heard anything to suggest any other defendant had been coerced or induced. (Id.)

Garbin specifically testified that he considered Fox and Croft to be the leaders of the

plot. (PageID.5356.)

      3. Deliberations and Verdict

      After closing arguments, the jury retired to consider the evidence. In the

middle of their deliberations the jurors sent a note asking, “Can we get a legal

description of a ‘weapon’?” (R. 631: Trial Transcript Excerpt, PageID.6934.) After

discussing with the parties, the Court announced its intent to give the jury a

modified version of the definition found in Black’s Law Dictionary, to wit, “[A]n

instrument used or designed to be used either to destroy, injure or kill someone or

something.” (Id., PageID.6939.) The Court brought the jury back in, and instructed



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the members, “There is no overarching definition that I know of in State or Federal

law for a weapon. It’s more contextual. But I do think the most general thing I can

say is that the weapon, when it’s just used as a word by itself, is meant to be a

category of devices that could readily be used or designed to either destroy or injure

or kill someone or something.” (PageID.6941.) The Court added, “That’s the general

idea of weapon as opposed to something you’d simply use for fun.” (Id.)




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                               LAW AND ARGUMENT

   1. Sufficiency of the Evidence Generally

      If a jury has failed to return a verdict, the defendant may move for a

judgment of acquittal, or renew such a motion, within 14 days after the court

discharges the jury. Fed. R. Crim. P. 29(c)(1), (2).

      “A motion for acquittal is granted for only one reason; insufficiency of the

evidence to sustain [a] conviction.” United States v. Turner, 490 F. Supp. 583, 488

(E.D. Mich 1979). The evidence must be viewed in the light most favorable to the

government, without considering the credibility of the witnesses or the weight of the

evidence. Id., citing Glasser v. United States, 315 U.S. 60 (1942), United States v.

Luxenberg, 374 F.2d 241, 248 (6th Cir. 1967). The government must be given the

benefit of all inferences which can reasonably be drawn from the evidence. United

States v. Adamo, 742 F.2d 927, 932 (6th Cir. 1984), citing Glasser, 315 U.S. at 80. It

is not necessary that the evidence exclude every reasonable hypothesis except that

of guilt. Id., citing Luxenberg, 374 F.2d at 248.

       Defendants Fox and Croft challenge the sufficiency of the evidence for

Counts 1 and 2 of the Superseding Indictment, which charge them with kidnapping

conspiracy (18 U.S.C. § 1201(c)) and conspiracy to use a weapon of mass destruction

(18 U.S.C. § 2332(a)(2)(A)) respectively. To find the defendants guilty of either of

those conspiracy charges, the jury would have to find:

      (A) First, that two or more persons conspired, or agreed, to commit a federal
          crime;




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      (B) Second, that the defendant knowingly and voluntarily joined the
          conspiracy;

      (C) And third, that a member of the conspiracy did one of the overt acts
          described in the indictment for the purpose of advancing or helping the
          conspiracy.

Sixth Circuit Pattern Jury Instruction 3.01A.

      Circumstantial evidence that a reasonable person could interpret as showing

participation in a common plan may be used to establish the existence of a

conspiracy agreement. United States v. Donohue, 726 F. App’x 333, 349-50 (6th Cir.

2018), citing United States v. Warshak, 631 F.3d 266, 308 (6th Cir. 2010). Once a

conspiracy has been established, only slight evidence is necessary to implicate a

defendant. United States v. Poulos, 895 F.2d 1113, 1117 (6th Cir. 1990). Even the

uncorroborated testimony of an accomplice may support a conviction. United States

v. Blakeney, 942 F.2d 1001, 1010 (6th Cir. 1991) (quoting United States v. Frost, 914

F.2d 756, 762 (6th Cir. 1990)).

      “To show an agreement, the government need only prove that the co-

conspirators ‘in some way or manner . . . came to a mutual understanding to try to

accomplish a common and unlawful plan.’” United States v. Whitfield, 663 F. App’x

400, 408 (6th Cir. 2016) (quoting United States v. Pearce, 912 F.2d 159, 161 (6th Cir.

1990)). Proof of a formal agreement is unnecessary; a tacit or material

understanding among the parties is sufficient. Id; see also United States v. Hughes,

891 F.2d 597, 601 (6th Cir. 1989). The existence of that tacit agreement can be

inferred from acts done with a common purpose. United States v. Hughes, 895 F.2d




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1135, 1141 (6th Cir. 1990); United States v. Barger, 931 F.2d 359, 369 (6th Cir.

1991).

         The evidence presented at trial was sufficient to support a conviction for

Count 1 (kidnapping conspiracy). Indeed, even the uncorroborated testimony of

Garbin and Franks alone would suffice to meet the low bar set in Rule 29 when

viewed in the light most favorable to the government, as the law requires. The

defendants’ own words more than corroborated that testimony, however: Fox

explicitly said he wanted to “snatch and grab” the Governor, and Croft proposed “a

quick, precise grab on that fucking governor…Whitmer. Whitmer. Michigan.

Whitmer.”

         It is not necessary to exclude every reasonable—or unreasonable—

hypothesis except that of guilt (e.g., “live action role playing” or “stoned crazy talk”).

Moreover, there need be no explicit oral or written contract to establish a meeting of

the minds. The existence of their tacit agreement can be inferred from the many

acts each did toward their common purpose, including reconnoitering the

Governor’s home at night.

         Moreover, the law does not support the defendants’ contention that the

details of the “plan” to effectuate the kidnapping conspiracy must be firmly decided

by the members of the conspiracy and that the kidnapping is plainly feasible.

Members of a conspiracy need not agree on all the details. See, e.g., United States v.

Schultz, 855 F.2d 1217, 1221 (6th Cir. 1988). Indeed, as this Court instructed the

jury, “impossibility of success” is no defense to a conspiracy charge. A defendant



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may be found guilty of conspiracy “even if it was impossible for them to successfully

complete the crime they agreed to commit.” Sixth Circuit Pattern Criminal Jury

Instruction 3.13.

      The evidence was equally sufficient to support conviction on Count 2

(conspiracy to use a weapon of mass destruction). After casing the Governor’s house

during the daytime, Fox determined that blowing up the nearby bridge would

hinder police and facilitate the plot. Croft said he wanted to “get eyes on the bridge”

before leaving to case the house again at night. Fox crept under the bridge at night

looking for a place to plant explosives, and ordered $4,000 worth from UC Red.

Croft constructed an anti-personnel IED and said he needed “to get these guys

demolition trained, bro. That’s the element that the militia’s missing.” As with

Count 1, Fox and Croft’s tacit agreement to use explosives can be inferred from

their individual acts and statements in furtherance of their common purpose.

      As to Count 3, the evidence was sufficient to establish Croft possessed an

unregistered destructive device in Luther, Michigan. Multiple witnesses related

seeing him with the device. Croft described its construction, with pennies affixed as

shrapnel, in his own recorded words. Even his co-defendant Harris testified that

Croft made, carried, and assisted him in detonating the device. The jury saw a video

of Croft constructing an unsuccessful prototype in Wisconsin, and saw the bomb

making materials (including similar explosive materials) seized from his residence.

Experts testified that the device met the definition of a bomb, and that it was not

registered to him in the National Firearms Registration and Transfer Record.



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   2. Entrapment

      “An entrapment defense has two elements: (1) ‘government inducement of the

crime, and (2) a lack of predisposition on the part of the defendant to engage in the

criminal conduct.’” United States v. Demmler, 655 F.3d 451, 456 (6th Cir. 2011)

(quoting Mathews v. United States, 485 U.S. 58, 63 (1998)). “To determine whether

entrapment has been established, a line must be drawn between the trap for the

unwary innocent and the trap for the unwary criminal.” Sherman v. United States,

356 U.S. 369, 372 (1958).

      Courts weighing inducement generally distinguish between the government

“merely afford[ing] an opportunity or facilities for the commission of the crime,”

United States v. Poulsen, 655 F.3d 492, 502 (6th Cir. 2011) (quoting Mathews, 485

U.S. at 66), and the government providing “an ‘opportunity’ plus something else-

typically, excessive pressure by the government upon the defendant or the

government’s taking advantage of an alternative, non-criminal type of motive.’”

United States v. Dixon, 396 F. App’x 183, 186 (6th Cir. 2010) (quoting United States

v. Gendron, 18 F.3d 955, 961 (1st Cir. 1994)). Generally, “[a]n improper inducement

occurs when the government ‘repeated[ly] and persistent[ly] solicit[s]’ a person to

commit a crime.” White, 815 F. App’x at 29 (quoting Sorrells v. United States, 287

U.S. 435, 441 (1932) (alterations in White)); see also United States v. Geralt, 682 F.

App’x 394, 406 (6th Cir. 2017) (“Inducement requires evidence of repeated and

persistent solicitation or excessive pressure by the government.”) (internal citations

and quotation marks omitted). As this Court has held, “Applying this framework,



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simply setting up a ruse—even an extended one—or running a confidential source,

or even proposing a criminal act is not enough.” (R. 421: Opinion and Order,

PageID.2904.)

      “The predisposition inquiry involves assessing whether a defendant was

‘inclin[ed] to commit the crime with which he was charged.’” United States v. White,

815 F. App’x 27, 29 (6th Cir. 2020) (quoting United States v. Kussmaul, 987 F.2d

345, 349 (6th Cir. 1993) (alterations in White). Courts in the Sixth Circuit consider

the following factors in evaluating a defendant’s predisposition to commit an

offense:

      1. the character or reputation of the defendant;

      2. whether the suggestion of the criminal activity was initially made by the
      government;

      3. whether the defendant was engaged in criminal activity for a profit;

      4. whether the defendant evidenced reluctance to commit the offense but was
      overcome by government persuasion; and

      5. the nature of the inducement or persuasion offered by the government.

United States v. Nelson, 922 F.2d 311, 317 (6th Cir. 1990).

      The defendants claimed in opening that they had been induced to join the

conspiracy. They argued the same in closing (over objection), without supporting

facts in evidence. At most, the defendants established that government informants

provided land on which to stage one of their trainings, and let Fox use a website to

promote his “Three Percenter” chapter. As both the Sixth Circuit and this Court

held, providing opportunities or facilities is not inducement.



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      Fox and Croft were not “unwary innocents,” either. Applying the Nelson

factors, the evidence established they were both predisposed to commit the charged

offenses:

      Both Fox and Croft espoused anti-government action long before they met

any government agents or informants. Croft had been advocating a “second

American revolution” (including tattooing his body with insurrectionist slogans) for

years, and proposed hanging a governor to destabilize the states like “dominoes.”

The jury saw Fox likewise broadcast his desire to “kick off the boogaloo” (initiate a

second civil war) before he met any government agents or sources.

      The defendants produced no evidence that the idea to kidnap the Governor

originated with the government. On the contrary, Croft told the plotters in Dublin,

Ohio that he had received permission directly from God. Fox proposed storming the

Capitol and trading hostages for the Governor the first time he met CHS Dan and

the other potential recruits Croft sent his way.

      The defendants showed no reluctance to join the plot. The jury heard both

Fox and Croft, in their own voices, promoting it with enthusiasm and fervor.

      Finally, the nature of the supposed “inducement or persuasion” was

evidenced only by insinuation in questions and argument. For instance, Croft

repeatedly claimed that CHS Steve had paid for the conspirators’ hotel rooms and

travel, but no witness confirmed that, and defense records only established that he

may have reserved a room for himself. Questions likewise suggested that Fox and

others admired CHS Dan’s combat experience and wanted to impress him. But no



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evidence showed Dan, Steve, or any undercover agent applied any pressure—much

less “excessive pressure” or “repeated solicitation”—to kidnap the Governor.

   3. Issue Preclusion

       The defendant bears the burden of proving that the jury, in reaching its

decisions in the first trial, necessarily decided an issue that precludes the

government from a retrial on the hung counts. See Bravo-Fernandez v. United

States, 137 S. Ct. 352, 359 (2016) (quoting Schiro v. Farley, 510 U.S. 222, 233

(1994)); Currier v. Virginia, 138 S. Ct. 2144, 2150 (2018) (test for issue preclusion to

bar retrial is “a demanding one”).

       In Yeager v. United States, 557 U.S. 110 (2009), the Supreme Court held that

the Double Jeopardy Clause incorporated the doctrine of issue preclusion, and

“precludes the government from relitigating any issue that was necessarily decided

by a jury’s acquittal in a prior trial.” 557 U.S. at 119. In determining what issues

were necessarily decided by the jury, the inquiry is on the verdict of acquittal, as

opposed to the hung counts, because the jury speaks through its verdict and hung

counts have “no place in the issue-preclusion analysis.” Id. at 122. Thus, “‘when an

issue of ultimate fact has once been determined by a valid and final judgment’ of

acquittal, it ‘cannot again be litigated’ in a second trial for a separate offense.” Id. at

119-20 (quoting Ashe v. Swenson, 397 U.S. 436, 443 (1970)).

       Yeager accepted the very narrow test for issue preclusion set forth in Ashe:

“[T]o decipher what a jury has necessarily decided, we held that courts should

‘examine the record of a prior proceeding, taking into account the pleadings,

evidence, charge, and other relevant matter, and conclude whether a rational jury
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could have grounded its verdict upon an issue other than that which the defendant

seeks to foreclose from consideration.’” Id. at 119-20 (quoting Ashe, at 444); see also

United States v. Jenkins, 902 F.2d 459 (6th Cir. 1990) (court must search the record

looking for a reason why jury could have reached its conclusion without deciding

issue that defendant contends forecloses retrial).

      Issue preclusion is narrower in criminal cases principally because of “the

limited availability of appellate review … the government is precluded from

appealing or otherwise upsetting such an acquittal by the Constitution’s Double

Jeopardy Clause.’” Langley v. Prince, 926 F.3d 145, 164 (5th Cir. 2019) (quoting

United States v. Powell, 469 U.S. 57, 65 (1984)). As a result, “[t]ime and again …

The Supreme Court has repeatedly admonished lower courts to carefully apply issue

preclusion in criminal cases.” Id. at 165. The Supreme Court recently reaffirmed the

high burden on the defendant to establish issue preclusion: “to say that the second

trial is tantamount to a trial of the same offense is the first and thus forbidden by

the Double Jeopardy Clause, we must be able to say that ‘it would have been

irrational for the jury’ in the first trial to acquit without finding in the defendant’s

favor on a fact essential to a conviction in the second.” Currier v. Virginia, 138 S. Ct.

2144, 2150 (2018) (quoting Yeager at 127, 129).

      Croft’s “issue preclusion” arguments do not hold water. He claims that, “[i]n

acquitting Mr. Harris on Count 2 [conspiracy to use a weapon of mass destruction],

the jury necessarily either determined that he did not knowingly agree and join the

conspiracy, or that if he did, none of the overt acts were proven.” (R. 629: Croft Mot.,



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PageID.6912.) In other words, as Croft admits, the jury might have simply found

there was insufficient evidence that Harris agreed with Fox and Croft. That in no

way “necessarily” precludes a finding that Fox and Croft agreed with each other.

Thus, issue preclusion cannot apply to count 2 because the jury could have decided

only that Harris was not a conspirator.

      Croft also incorrectly argues that by acquitting Harris of Count 3 (possessing

an unregistered destructive device), the jury must have decided that Croft did not

knowingly possess the device or that it was not actually such a device. (Id.,

PageID.6918-19.) At first glance, it may appear inexplicable that Harris could be

acquitted of Count 3 after admitting all the contested elements on the witness

stand. But the Court’s supplemental instruction to the jury defined a “weapon” to

exclude “something you’d simply use for fun.” The jury could plausibly have

interpreted that as an element of intent and found the Government did not prove it

beyond a reasonable doubt as to Harris. In other words, the jury could have

rationally concluded based on that instruction that Harris – who the jury

determined was not a conspirator – only possessed and ignited the destructive

device “for fun” without also deciding the same for Croft. (R. 631: Tr. Excerpt,

PageID.6941.) After all, Croft, not Harris, built the device by attaching the pennies

to the mortar shell and talked about the pennies as shrapnel. (Gov’t Ex. 219.)

      In any event, Croft’s claim that “uncontroverted trial testimony that …

Harris was the person who detonated the device in question” is unsupported by the

record. (Id., PageID.6913.) The evidence proved Croft and Harris set off the device



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together, and Harris’ acquittal undermines neither Croft’s commission of the overt

act in Count 2, nor Croft’s unlawful possession of the device as charged in Count 3.

                                   CONCLUSION

      Viewing the evidence adduced at trial in the light most favorable to the

government, neither Fox nor Croft can meet their burden of demonstrating that the

evidence was insufficient to support a conviction on the counts with which they are

charged, or that the “not guilty” verdicts as to Harris or Caserta preclude a retrial

on issue preclusion grounds. For the foregoing reasons, the government requests

that the Court deny the defendants’ motions for acquittal.

                                        Respectfully submitted,

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                                        28 U.S.C. § 515

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                       CERTIFICATE OF COMPLIANCE

      Pursuant to LCrR 47.1(b)(ii), the undersigned certifies that this brief
complies with the type-volume limitation and contains no more than 10,800 words
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